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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

IN RE: CASE NO. 23-17288-BKC-PDR
CHAPTER 13

DONNA HAMILTON
/

NOTICE OF WITHDRAWAL OF DOCUMENT NO. 14

Debtor, DONNA HAMILTON, by and through her undersigned attorney, respectfully
withdraws Document No. 14 filed on September 26, 2023.
CERTIFICATE OF SERVICE

| HEREBY CERTIFY that true copies of the foregoing were served upon all interested
parties listed on the service list below on October 18, 2023.

Dated: October 18, 2023 Law Offices of Michael H. Johnson, P.A.
Attorneys for Debtor(s)
800 West Cypress Creek Rd.
Suite 502
Ft. Lauderdale, FL 33309
(954) 535-1131
(954) 641-7750 fax

By:_/s/ Michael H. Johnson__
Michael H. Johnson, Esq.
Florida Bar No. 0149543

| HEREBY CERTIFY THAT | AM ADMITTED TO THE BAR OF
THE UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA AND | AM _ IN
COMPLIANCE WITH THE ADDITIONAL QUALIFICATIONS TO
PRACTICE IN THIS COURT SET FORTH IN LOCAL RULE

2090-1(A).
Case 23-17288-PDR Doc 24

SERVICE LIST:

VIA CMI/ECEF:
Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov

Robin R Weiner
ecf@ch13weiner.com;ecf2@ch13weiner.com

VIA US MAIL:

Mr. Errol Lambert

831 Cedar Lake Rd., #508
Biloxi, MS 39532

To all parties on the attached Mailing Matrix

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Label Matrix for local noticing
113¢-0

Case 23-17288-PDR

Southern District of Florida
Fort Lauderdale

Wed Oct 18 16:27:57 EDT 2023

Barclays Bank
POB 8833
Wilmington, DE 19899-8833

Citibank/Best Buy

ATIN: Centralized Bankruptcy
POB 790040

St Louis, MO 63179-0040

Discover Financial

Attn: Bankruptcy

POB 3025

New Albany, OH 43054-3025

TRS
POB 7346
Philadelphia, PA 19101-7346

Merrick Garland

Attorney General of the United States
950 Pennsylvania Ave., NW, Room 4400
Washington, DC 20530-0009

Resurgent Capital Services
Attn: Bankruptcy

POB 10497

Greenville, 8C 29603-0497

Synchrony Bank/JC Penney
4125 Windward Plaza
Alpharetta, GA 30005-8738

U.S. Bankcorp

Attn: Bankruptcy

800 Nicollet Mall
Minneapolis, MN 55402-7000

Donna §, Hamilton
1808 NW 115 Way
Coral Springs, FL 33071-5764

Wells Fargo Bank, N.A.

Aldridge Pite, LLP

c/o Wanda D, Murray

Six Piedmont Center

3525 Piedmont Road, N.E., Suite 700
Atlanta, GA 30305-1608

(p) JPMORGAN CHASE BANK N A
BANKRUPTCY MAIL INTAKE TEAM
700 KANSAS LANE FLOOR 01
MONROE LA 71203-4774

(p)U S ATTORNEY'S OFFICE
99 NE 4TH STREET SUITE 300
MIAMI FL 33132-2131

Figure Lending
Attn; Bankruptcy
POB 40534

Reno, NV 89504-4534

(p) INTERNAL REVENUE SERVICE
CENTRALIZED INSOLVENCY OPERATIONS
PO BOX 7346

PHILADELPHIA PA 19101-7346

Midland Funding/Midland Credit Mgmt
Attn: Bankruptcy

POB 939069

San Diego, CA 92193-9069

Small Business Administration

2 North 20 St., #320
Birmingham, AL 35203-4002

Synchrony Bank/JCPenney
170 Election Rd., #125
Fort Myers, FL 33908

Wells Fargo Bank, N.A,
Default Document Processing
MACH N9286-01Y

P.O, Box 1629

Minneapolis MN 55440-1629

Michael H. Johnson
800 W. Cypress Creek Rd., Ste. 502
Fort Lauderdale, FL 33309-2059

Bank of America
POB 982238
El Paso, TX 79998-2238

Citibank
POB 301030
Los Angeles, CA 90030-1030

Discover Bank

Discover Products Inc

PO Box 3025

New Albany, OH 43054-3025

Fulton Bank/Priceline/Elan
POB 108
Saint Louis, MO 63166-0108

Kohls/Capital One

Attn: Credit Administrator
POB 3043

Milwaukee, WI 53201-3043

Office of the US Trustee
51 S.W. Ist Ave.

Suite 1204

Miami, FL 33130-1614

Special Assistant

United States Attorney

Associate Area Counsel

1000 South Pine Island Road, Ste 300
Plantation, FL 33324-3910

U.S. Bank National Association dba Elan Fina

Bankruptcy Department
BO Box 108
Saint Louis, MO 63166-0108

Wells Fargo Home Mortgage
Attn; Bankruptcy

1 Home Campus -- Mac X2303-0la
Des Moines, IA 50328-0001

Robin R Weiner

Robin R. Weiner, Chapter 13 Trustee
Post Office Box 559007

Fort Lauderdale, FL 33355-9007
